







	









IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP - 74,644






WILLIAM GEORGE WILKINS, III, Appellant



v.



THE STATE OF TEXAS





ON DIRECT APPEAL


FROM THE 249TH DISTRICT COURT OF


HARRIS  COUNTY






		Per curiam.


O P I N I O N 



	This is an appeal from an order denying bail pursuant to Article 1, §11a of the Texas Constitution. 
Appellant has now filed a motion to dismiss the appeal.  The motion to dismiss is granted and the appeal
is dismissed.


Date filed: November 5, 2003

Do Not Publish


